  Case: 23-60167     Document: 242    Page: 1   Date Filed: 08/02/2023




                           No. 23-60167



       In The United States Court of Appeals
               for the Fifth Circuit

                   ILLUMINA, INC. AND GRAIL, INC.,
                                   Petitioners,
                                 v.
                    FEDERAL TRADE COMMISSION,
                                 Respondent.



              Petition for Review from an Order of
                the Federal Trade Commission
                         Agency No. 9401



BRIEF FOR AMERICAN ECONOMIC LIBERTIES PROJECT
  AS AMICUS CURIAE IN SUPPORT OF RESPONDENTS


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      Case: 23-60167    Document: 242       Page: 2   Date Filed: 08/02/2023




              CERTIFICATE OF INTERESTED PERSONS

     The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of Rule 28.2.1—

in addition to the persons listed on the certificates of interested persons

submitted by Petitioners Illumina, Inc. and Grail, Inc.; Respondent

Federal Trade Commission; and the various amici curiae— have an

interest in the outcome of this case. These representations are made in

order that the judges of this court may evaluate possible disqualification

or recusal.

     1. American Economic Liberties Project, Amicus Curiae


Dated: August 2, 2023             s/ Katherine Van Dyck ___________
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                                        i
         Case: 23-60167          Document: 242           Page: 3     Date Filed: 08/02/2023




                                 TABLE OF CONTENTS

CERTIFICATE OF INTERESTED PERSONS ......................................... i

TABLE OF AUTHORITIES .................................................................... iii

CITATION ABBREVIATIONS ................................................................ vi

INTEREST OF AMICUS .......................................................................... 1

SUMMARY OF ARGUMENT ................................................................... 2

ARGUMENT ............................................................................................. 5

I.      THE CLAYTON ACT IS CONCERNED WITH FUTURE
        MARKET CONDITIONS ................................................................. 5

II.     THE R&D MARKET IS A PROPER LINE OF COMMERCE ........ 8

        A.      The R&D Market for MCED Tests Already Exists ................ 9

        B.      The Impact of Innovation on Competition is Widely
                Recognized ............................................................................. 11

        C.      Future Market Entrants Play An Important Role in
                Competition ........................................................................... 16

III.    CONCLUSION ............................................................................... 21

CERTIFICATE OF COMPLIANCE ........................................................ 23

CERTIFICATE OF SERVICE................................................................. 23




                                                    ii
        Case: 23-60167          Document: 242            Page: 4     Date Filed: 08/02/2023




                              TABLE OF AUTHORITIES

Cases

  Atari Games Corp. v. Nintendo of Am., Inc., 897 F.2d 1572 (Fed.
    Cir. 1990) ........................................................................................ 13

  Bostock v. Clayton Cty., 140 S. Ct. 1731 (2020) ................................... 6

  Brown Shoe v. United States, 370 U.S. 294 (1962) .................. 3, 5, 6, 9

  Cal. v. Am. Stores Co., 495 U.S. 271 (1990) ......................................... 5

  Catch Curve, Inc. v. Venali, Inc., 519 F. Supp. 2d 1028 (C.D. Cal.
    2007) ............................................................................................... 13

  DAT Sols., LLC v. Convoy, Inc., No. 22-cv-00088, 2023 WL
    3058057 (D. Or. Apr. 24, 2023) ...................................................... 13

  Ford Motor Co. v. United States, 405 U.S. 562 (1972) ....................... 20

  Fraser v. Major League Soccer, L.L.C., 97 F. Supp. 2d 130 (D.
    Mass. 2000) ..................................................................................... 10

  FTC v. Elders Grain, Inc., 868 F.2d 901 (7th Cir. 1989) ................. 3, 7

  FTC v. PPG Indus., Inc., 798 F.2d 1500 (D.C. Cir. 1986) .......... passim

  FTC v. Procter & Gamble Co., 386 U.S. 568 (1967) ............................. 6

  Loctite Corp. v. Ultraseal Ltd., 781 F.2d 861 (Fed. Cir. 1985)........... 13

  Mercantile Texas Corp. v. Bd. of Governors of Fed. Rsrv. Sys., 638
    F.2d 1255 (5th Cir. 1981) ....................................................... passim

  New York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638 (2d
    Cir. 2015 ......................................................................................... 13

  PLS.Com, LLC v. Nat’l Ass’n of Realtors, 32 F.4th 824 (9th Cir.
    2022), cert. denied sub nom., 143 S. Ct. 567 (2023) ....................... 12


                                                   iii
       Case: 23-60167           Document: 242           Page: 5      Date Filed: 08/02/2023




  Sanger Ins. Agency v. HUB Int’l, Ltd., 802 F.3d 732 (5th Cir.
    2015) ............................................................................................... 19

  SCM Corp. v. Xerox Corp., 645 F.2d 1195 (2d Cir. 1981) .................. 10

  United States v. AlliedSignal Inc., No. 99-cv-2959, 2000 WL
    33115901 (D.D.C. Mar. 22, 2000)................................................... 14

  United States v. Aluminum Co. of Am., 148 F.2d 416 (2d Cir.
    1945) ............................................................................................... 12

  United States v. Bos. Sci. Corp., 253 F. Supp. 2d 85 (D. Mass.
    2003) ............................................................................................... 13

  United States v. E.I. du Pont de Nemours & Co., 353 U.S. 586
    (1957) ............................................................................................ 6, 7

  United States v. El Paso Nat. Gas Co., 376 U.S. 651 (1964) .............. 17

  United States v. Falstaff Brewing Corp., 410 U.S. 526 (1973)........... 17

  United States v. Grinnell Corp., 384 U.S. 563 (1966) ........................ 18

  United States v. Marine Bancorporation, Inc., 418 U.S. 602
    (1974) .............................................................................................. 17

  United States v. Microsoft, 253 F.3d 34 (D.C. Cir. 2001) ................... 19

  United States v. Penn-Olin Chem. Co., 378 U.S. 158 (1964) ............. 18

  United States v. Philadelphia Nat’l Bank, 374 U.S. 321 (1963) ...... 7, 8

  United States v. Sungard Data Sys., Inc., 172 F. Supp. 2d 172
    (D.D.C. 2001) .................................................................................. 19

  Woods Expl. & Producing Co. v. Aluminum Co. of Am., 438 F.2d
    1286 (5th Cir. 1971) ....................................................................... 12

Administrative Decisions

  In the Matter of Adobe Sys. Inc., et al., 118 F.T.C. 940 (1994) .......... 14

                                                   iv
        Case: 23-60167            Document: 242           Page: 6       Date Filed: 08/02/2023




  In the Matter of Am. Home Prod. Corp., 119 F.T.C. 217 (1995) ........ 14

  In the Matter of Amgen Inc., et al., 134 F.T.C. 333 (2002) ................. 14

  In the Matter of Ciba-Geigy Ltd., et al., No. 961-0055, 1996 WL
     743359 (F.T.C. Dec. 5, 1996) .......................................................... 14

  In the Matter of Roche Holding Ltd., et al., 113 F.T.C. 1086 (1990)
      ........................................................................................................ 14

Statutes

  15 U.S.C. § 18.................................................................................... 2, 5

Legislative Materials

  H.R. Rep. No. 1191, 81st Cong., 1st Sess. 8 (1949) ................................ 5

  S. Rep. No. 1775, 81st Cong., 2d Sess. (1950) ....................................... 7

Other Sources

  Prepared Remarks of Federal Trade Commissioner Christine A.
    Varney, Competition Policy in Vertical Mergers and
    Innovation Markets (Apr. 1995) ................................................... 3, 4

  Richard J. Gilbert & Steven C. Sunshine, Incorporating Dynamic
     Efficiency Concerns in Merger Analysis: The Use of Innovation
     Markets, 63 ANTITRUST L.J. 569 (1995) ......................................... 14

  U.S. Dep’t of Justice & Fed. Trade Comm’n, Draft Merger
    Guidelines 15 (2023) ....................................................................... 14

  U.S. Dep’t of Justice, Vertical Merger Guidelines (2020) ................... 14




                                                      v
      Case: 23-60167     Document: 242      Page: 7   Date Filed: 08/02/2023




                   CITATION ABBREVIATIONS

      This Brief uses the same abbreviations used in Petitioners’ Brief

and Respondent’s Brief, including the following:

Conc. Op.              Concurring Opinion of Commissioner Wilson

IDF                    Initial Decision Findings of Fact

Op.                    Opinion of the Commission

Pet. Br.               Petitioners’ Brief




                                      vi
      Case: 23-60167     Document: 242       Page: 8   Date Filed: 08/02/2023




                         INTEREST OF AMICUS

     American Economic Liberties Project (“AELP”) is an independent

nonprofit     research   and    advocacy         organization      dedicated    to

understanding and addressing the problem of concentrated economic

power in the United States.1 AELP organizes and employs a diverse set

of leading policy experts in a wide range of areas impacted by

concentrated power that include the healthcare industry, private equity,

airlines, and the digital marketplace. It advocates for policies that

address today’s crisis of concentration through legislative efforts and

public policy debates. AELP submits this brief because Petitioners are

attempting to rewrite the Clayton Act, so it will become blind to the

effects of mergers and acquisitions on innovation, research, and

development. Our antitrust laws cannot protect competition if merger

challenges supported by clear evidence of foreclosure are rejected based

on convoluted, burdensome, and unrealistic requirements for market

definition that ignore the effects of acquisitions on future market

conditions.




1 https://www.economicliberties.us/.




                                         1
      Case: 23-60167     Document: 242       Page: 9   Date Filed: 08/02/2023




     Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E), no

party’s counsel authored this brief in whole or part. In addition, no party

or party’s counsel, and no person other than the amicus curiae, its

supporters, or its counsel, contributed money that was intended to fund

preparing or submitting the brief. All parties have consented to the filing

of this amicus brief.

                        SUMMARY OF ARGUMENT

     Petitioners Illumina, Inc. and Grail, Inc.’s (“Petitioners”) criticism

of the product market definition adopted by both the full Commission and

the administrative law judge (“ALJ”)—that it is “unprecedentedly broad

and speculative” (Pet. Br. 29)—is wholly inconsistent with the purpose of

Section 7 of the Clayton Act, 15 U.S.C. § 18, and ignores how courts and

enforcers have interpreted the law from its inception. The Supreme Court

told us in its seminal decision in Brown Shoe v. United States that Section

7 is forward looking:

     [T]he very wording of [Section] 7 requires a prognosis of the
     probable future effect of the merger.

     ….

     It is the probable effect of the merger upon the future as well
     as the present which the Clayton Act commands the courts
     and the Commission to examine.


                                         2
      Case: 23-60167    Document: 242       Page: 10   Date Filed: 08/02/2023




370 U.S. 294, 332 (1962) (emphasis added).

      Petitioners’ claim that the Federal Trade Commission “invent[ed] a

legally erroneous R&D market”, (Pet. Br. 38) (emphasis added), is belied

not only by the long history of enforcement focused on protecting

innovation and future market conditions. See infra Section II.B-C. It is

explicitly contradicted by the enforcement prerogatives articulated by

counsel for Illumina when she sat as a commissioner at the FTC. As then-

Commissioner Varney explained in an uncontroversial set of remarks

about vertical merger policy, “it is the Commission’s statutory

responsibility to consider the possibility, or likelihood, of future

anticompetitive    effects.”   Prepared       Remarks       of   Federal        Trade

Commissioner Christine A. Varney, Competition Policy in Vertical

Mergers and Innovation Markets, at 6 (Apr. 1995) (citing FTC v. Elders

Grain, Inc., 868 F.2d 901, 906 (7th Cir. 1989)). Thus, “innovation market

analysis does not require any radical departure from the traditional tools

used in antitrust analysis.” Id. at 13 (emphasis added). True, there is

little to no pricing data to consider. But the parameters are still clear. “In

the innovation context, the product market consists of R&D [research and




                                        3
      Case: 23-60167   Document: 242       Page: 11   Date Filed: 08/02/2023




development] directed to particular new or improved goods or processes,

and the close substitutes for that R&D.” Id. at 15.

      Petitioners’ argument today—that “speculation about future

substitutability cannot prove a relevant market” (Pet. Br. 30)—simply

cannot be squared with counsel for Illumina’s own prior interpretation of

the   Commission’s     statutory   responsibilities.      As    Amicus         AELP

demonstrates below, and courts have nearly always accepted, Section 7

is necessarily and almost exclusively concerned with future market

conditions and will always involve some degree of speculation. Thus, the

relevant product market adopted by the Commission—the “research,

development, and commercialization of MCED tests” (the “R&D

Market”)2—is wholly appropriate under both a plain reading of the

statute and courts’ interpretation of the phrase “any line of commerce.”

(Op. 24, 34; Conc. Op. 1.)




2 “MCED tests” are multicancer early detection tests that use a single

blood sample to screen for multiple types of cancer. (IDF ¶21.)


                                       4
      Case: 23-60167   Document: 242       Page: 12   Date Filed: 08/02/2023




                              ARGUMENT

I.   THE CLAYTON ACT IS CONCERNED WITH FUTURE
     MARKET CONDITIONS

     Section 7 was designed to stop the “rising tide of economic

concentration.” Brown Shoe, 370 U.S. at 317. It “[wa]s intended to permit

intervention … when the effect of an acquisition may be a significant

reduction in the vigor of competition.” H.R. Rep. No. 1191, 81st Cong., 1st

Sess. 8 (1949) (emphasis added). The final language adopted by Congress

is therefore quite broad:

     No person engaged in commerce or in any activity affecting
     commerce … shall acquire the whole or any part of the assets
     of another person engaged also in commerce or in any activity
     affecting commerce, where in any line of commerce or in any
     activity affecting commerce in any section of the country, the
     effect of such acquisition may be substantially to lessen
     competition, or to tend to create a monopoly.

15 U.S.C. § 18 (emphasis added). This “creates a relatively expansive

definition of antitrust liability.” Cal. v. Am. Stores Co., 495 U.S. 271, 284

(1990). It provides “authority for arresting mergers at a time when the

trend to a lessening of competition in a line of commerce was still in its

incipiency.” Brown Shoe, 370 U.S. at 317 (emphasis added).

     The Supreme Court understood that “Congress used the words ‘may

be substantially to lessen competition’ … to indicate that its concern was


                                       5
      Case: 23-60167   Document: 242       Page: 13   Date Filed: 08/02/2023




with probabilities, not certainties.” Id. at 323. “The section is violated

whether or not actual restraints or monopolies, or the substantial

lessening of competition, have occurred or are intended.” United States v.

E.I. du Pont de Nemours & Co. (“E.I. du Pont”), 353 U.S. 586, 589 (1957).

“If the enforcement of § 7 turned on the existence of actual

anticompetitive practices, the congressional policy of thwarting such

practices in their incipiency would be frustrated.” FTC v. Procter &

Gamble Co., 386 U.S. 568, 577 (1967). It would, as Justice Gorsuch wrote

in his textualist interpretation of Title VII of the Civil Rights Act,

effectively rewrite the law and “deny the people the right to continue

relying on [its] original meaning ….” Bostock v. Clayton Cty., 140 S. Ct.

1731, 1738 (2020).

     “No doubt, Congress could have taken a more parsimonious

approach.” Id. at 1739. Section 7 could have used the phrase “will [or

shall] lessen competition or create monopolies.” Cf. id. (regarding Title

VII, Congress “could have added ‘solely’ to indicate that actions taken

‘because of’ the confluence of multiple factors do not violate the law. Or it

could have written ‘primarily because of’ to indicate that the prohibited

factor had to be the main cause of the defendant's challenged employment



                                       6
      Case: 23-60167   Document: 242       Page: 14   Date Filed: 08/02/2023




decision”) (citations omitted). But Congress specifically aimed “to make it

clear that [Section 7] is not intended to revert to the Sherman Act test.”

S. Rep. No. 1775, 81st Cong., 2d Sess. (1950). Instead, it “was intended to

supplement the Sherman Act. Its aim was primarily to arrest

apprehended consequences of inter corporate relationships before those

relationships could work their evil.” E. I. du Pont, 353 U.S. at 597

(emphasis added) (internal citation omitted), quoted by Mercantile Texas

Corp. v. Bd. of Governors of Fed. Rsrv. Sys., 638 F.2d 1255, 1265 (5th Cir.

1981).

     Courts have consistently held that Section 7’s standards are

forward-looking. “[T]he statute requires a prediction, and doubts are to

be resolved against the transaction.” Elders Grain, 868 F.2d at 906

(emphasis added). And contrary to Petitioners’ position, it “does not

command us to determine whether only present competition has been

substantially lessened. In evaluating a merger under Section 7, the

courts have looked at its effect on future competition.” Mercantile Texas,

638 F.2d at 1265 (emphasis added); see also United States v. Philadelphia

Nat’l Bank, 374 U.S. 321, 362 (1963) (Section 7 “requires not merely an

appraisal of the immediate impact of the merger upon competition, but a



                                       7
      Case: 23-60167   Document: 242       Page: 15   Date Filed: 08/02/2023




prediction of its impact upon competitive conditions in the future”); FTC

v. PPG Indus., Inc., 798 F.2d 1500, 1504 (D.C. Cir. 1986) (“an antitrust

court must, of necessity, attempt to predict the future market and the

merging firm's share of that market”). This applies not just in evaluating

how the merger might affect competition, but in determining what lines

of commerce are affected in the first place.

II.   THE R&D MARKET IS A PROPER LINE OF COMMERCE

      Petitioners argue that the R&D Market adopted by the Commission

and the ALJ is too broad and ask this Court to decide whether a relevant

product market can “include speculative products that do not exist [or]

may never exist and are not interchangeable.” (Pet. Br. 2.) Their

argument ignores a vast body of work by the courts and enforcers

applying our antitrust laws to research and development markets, and it

erroneously claims that products not approved by the Food and Drug

Administration are too far removed from the marketplace to be

considered.

      Centrally, the phrase “any line of commerce” refers to the relevant

market affected by the merger. Philadelphia Nat’l Bank, 374 U.S. at 356.

It is facially broad, and the Supreme Court has instructed that “the



                                       8
      Case: 23-60167   Document: 242       Page: 16   Date Filed: 08/02/2023




boundaries of the relevant market must be drawn with sufficient breadth

to include the competing products of each of the merging companies and

to recognize competition where, in fact, competition exists.” Brown Shoe,

370 U.S. at 326. Such competition can exist even among competitors, like

those identified by the Commission in its opinion and internally by Grail,

who employ different methodologies to meet the same market demand,

where “the trend in their respective technological evolutions is clearly in

the direction of an eventual coalescence.” PPG Indus., 798 F.2d at 1502.

     In the present case, the Commission (and the ALJ) properly

identified a product market for the research and development of

potentially lifesaving cancer screening products and a small group of

firms already actively participating in that market. Petitioners’

argument that it is too speculative, and that the research and

development of MCEDs by Grail’s competitors is not reasonably

interchangeable with Grail’s research, should be rejected.

     A.    The R&D Market for MCED Tests Already Exists

     The concept of existing markets that Petitioners advocate for is

vastly different from the one adopted by the courts. When courts refer to

“existing lines of commerce,” they are describing “the acquisition or



                                       9
      Case: 23-60167   Document: 242        Page: 17   Date Filed: 08/02/2023




merger of existing business enterprises” as opposed to “the formation of

an entirely new entity which itself represented the creation of an entirely

new market.” Fraser v. Major League Soccer, L.L.C., 97 F. Supp. 2d 130,

140 (D. Mass. 2000). In the latter scenario, where there are no existing

competitors, the creation of an entirely new entity and an entirely new

product cannot reduce competition. Id. But this Court is faced with the

former scenario, the acquisition of an existing enterprise within an

established product market with a small number of known, existing

competitors.

     Grail was formed in 2015 with the purpose of researching and

developing MCED tests. (IDF ¶¶20–21.) “At the time of Grail’s formation,

no other oncology testing company was developing liquid biopsy cancer

screening tests.” (Id. ¶30.) The formation of Grail and its initial endeavor

to create MCED tests did create an entirely new line of business, just as

the creation of Major League Soccer introduced a professional Division I

soccer league to the United States and just as Xerox’s acquisition of

certain patents led to an entirely new market for plain paper copiers.

Fraser, 97 F. Supp. 2d at 140; SCM Corp. v. Xerox Corp., 645 F.2d 1195,

1211 (2d Cir. 1981).



                                       10
      Case: 23-60167   Document: 242        Page: 18   Date Filed: 08/02/2023




     However, the market today has changed considerably. Grail may

have been the first entrant into the R&D Market, but it is no longer the

only one. The FTC identified seven, all at different stages of research and

development. (Op. 14–19.) Grail itself identified six firms actively

engaged in MCED test development that Grail viewed as its “top tier”

competition. (IDF ¶¶324, 380, 422, 447, 509); see also PPG Indus., 798

F.2d at 1505 (describing evidence that competitors were identified by

merging parties in their own internal documents as “overwhelming”).

And all of the cited MCED test developers, including Grail, perceive the

technology that Illumina owns and licenses to MCED test developers as

critical to their work and “the only technology available.” (Op. 21; IDF

¶¶588, 591, 593, 598, 601–634.) The line of commerce very much exists,

such that a vertical merger between Petitioners would unquestionably

give Illumina the ability and incentive to use its control of next-

generation sequencing technology to foreclose new entrants in the R&D

Market. (Op. 43–45, 47–53; IDF ¶¶746–805.)

     B.    The Impact of Innovation on Competition is
           Widely Recognized

     Having established that the R&D Market is an existing one, the

question becomes who falls within it. Petitioners argue that the


                                       11
      Case: 23-60167   Document: 242        Page: 19   Date Filed: 08/02/2023




Commission “invent[ed] a legally erroneous R&D market” and that there

is no “basis to define a relevant antitrust market based on the fact that

firms are working toward a general objective (e.g., developing a cancer

screening test).” (Pet. Br. 37–38.) This is entirely out of line with how

Section 7 has been applied and interpreted to acquisitions implicating

research and development efforts.

     Our antitrust laws have always been concerned with the impact of

anticompetitive behavior on innovation. Judge Learned Hand famously

wrote:

     Many people believe that possession of unchallenged
     economic power deadens initiative, discourages thrift and
     depresses energy; that immunity from competition is a
     narcotic, and rivalry is a stimulant, to industrial progress;
     that the spur of constant stress is necessary to counteract an
     inevitable disposition to let well enough alone.

United States v. Aluminum Co. of Am., 148 F.2d 416, 427 (2d Cir. 1945).3

In sum, a “threat to innovation is anticompetitive in its own right.”

United States v. Anthem, Inc., 855 F.3d 345, 361 (D.C. Cir. 2017).



3 See also Woods Expl. & Producing Co. v. Aluminum Co. of Am., 438

F.2d 1286, 1303 (5th Cir. 1971) (antitrust laws exist “to establish an
atmosphere which will stimulate innovations for better service at a
lower cost”); PLS.Com, LLC v. Nat’l Ass’n of Realtors, 32 F.4th 824, 839
(9th Cir. 2022), cert. denied sub nom., 143 S. Ct. 567 (2023) (plaintiff


                                       12
      Case: 23-60167   Document: 242        Page: 20   Date Filed: 08/02/2023




     Again, this concept is not new. As written in 1995:

     Innovation resulting from vigorous research and development
     is often the precursor to entry in markets characterized by
     sophisticated and rapidly evolving technology. A merger or
     acquisition that adversely affects innovation, therefore, may
     reduce the probability of entry into and the intensity of
     competition in markets where the merging firms do not
     compete prior to the merger.

Richard J. Gilbert & Steven C. Sunshine, Incorporating Dynamic

Efficiency Concerns in Merger Analysis: The Use of Innovation Markets,




properly alleged that conduct “prevent[ing] innovative competitors from
entering the market and growing large enough to meaningfully
compete” was an anticompetitive effect); New York ex rel. Schneiderman
v. Actavis PLC, 787 F.3d 638, 652 (2d Cir. 2015 (“[p]roduct innovation
generally benefits consumers and inflicts harm on competitors”); PPG
Indus., 798 F.2d at 1504 (“Competition between them exists not only in
bidding but … at the stage of research and development as
transparency manufacturers try to influence airframe customers about
types of transparencies for future generations of aircraft.”); Atari Games
Corp. v. Nintendo of Am., Inc., 897 F.2d 1572, 1576 (Fed. Cir. 1990)
(citing Loctite Corp. v. Ultraseal Ltd., 781 F.2d 861, 876–77 (Fed. Cir.
1985)) (antitrust laws are “aimed at encouraging innovation, industry
and competition”); DAT Sols., LLC v. Convoy, Inc., No. 22-cv-00088,
2023 WL 3058057, at *11 (D. Or. Apr. 24, 2023) (accepting allegation
that “restraint harms competition by effectively eliminating ‘would-be
competitors’ … by stifling innovation in the trucking industry”); Catch
Curve, Inc. v. Venali, Inc., 519 F. Supp. 2d 1028, 1036 (C.D. Cal. 2007)
(allegation that conduct “ha[d] a dangerous probability of ‘stifl[ing]
innovation’ in the market” sufficient for antitrust injury); United States
v. Bos. Sci. Corp., 253 F. Supp. 2d 85, 89 (D. Mass. 2003) (pre-merger
“[c]ompetition between the two was intense, and the competition was a
major catalyst for catheter innovation”) (emphasis added).


                                       13
      Case: 23-60167   Document: 242        Page: 21   Date Filed: 08/02/2023




63 ANTITRUST L.J. 569, 570 (1995). Recognizing these potential

anticompetitive effects, federal agencies have routinely enforced the

Clayton Act against mergers threatening harm to innovation.4 The FTC




4 See, e.g., U.S. Dep’t of Justice, Vertical Merger Guidelines at 4 (2020)

(a merged firm can use its control of access to a related to deter rivals
from “innovation, entry, or expansion”); U.S. Dep’t of Justice & Fed.
Trade Comm’n, Draft Merger Guidelines, App’x 3 at 15 (2023) (“the
Agencies may define relevant antitrust markets around the products
that would result from that innovation, even if they do not yet exist”);
In the Matter of Amgen Inc., et al., 134 F.T.C. 333, 340 (2002) (consent
decree resolving challenge to merger that would reduce “innovation
competition” in the research and development of various treatments
related to cancer and arthritis); United States v. AlliedSignal Inc., No.
99-cv-2959, 2000 WL 33115901, at *17 (D.D.C. Mar. 22, 2000) (consent
decree following merger challenge based in part on harm to innovation
in the relevant markets); In the Matter of Ciba-Geigy Ltd., et al., No.
961-0055, 1996 WL 743359, at *33 (F.T.C. Dec. 5, 1996) (consent degree
recognizing that merger would affect competition in market for research
and development of gene therapies despite no therapies having FDA
approval); In the Matter of Am. Home Prod. Corp., 119 F.T.C. 217, 220
(1995) (consent decree based in part on merger’s effects on market for
research and development of rotovirus vaccine, in which only three
vaccine producers had “research projects either in clinical development
or near clinical development”); In the Matter of Adobe Sys. Inc., et al.,
118 F.T.C. 940, 943 (1994) (consent decree recognizing that merger
would “allow the merged firm to reduce innovation by delaying or
reducing product development”); In the Matter of Roche Holding Ltd., et
al., 113 F.T.C. 1086, 1087 (1990) (consent decree defining the product
market as “the research, development, production and marketing of: (1)
vitamin C, (2) therapeutics for treatment of human growth hormone
deficiency or other short stature deficiency …, and (3) CD4–based
therapeutics for the treatment of AIDS and HIV infection”).


                                       14
      Case: 23-60167   Document: 242        Page: 22   Date Filed: 08/02/2023




in particular has kept close tabs on the pharmaceutical and biomedical

industry, where innovation is a particularly important component of

firms’ successes. The instant case—in which a handful of firms are

competing but all require Illumina’s technology—is no different.

     Competition is a critical driver of innovation among existing

entities in the R&D Market. Grail and its MCED developer rivals are

variously engaged in the development of MCED tests using next-

generation sequencing (NGS) technology, which share the goal of

screening asymptomatic adults for cancer. (IDF ¶¶130–131.) But the

various MCED developers also take different technical approaches, such

as Exact/Thrive’s analysis of “biomarkers”, Freenome’s “multiomic”

approach, and Singlera’s “methylation” analysis. (Id. ¶¶136, 275, 351,

491.) Yet each of these approaches to developing competing MCED tests

rely on Illumina’s NGS platform. Different methods will have different

rates of success and are likely to face different challenges in the FDA

approval process, heightening the need for a multitude of approaches

that could bring tests to market more quickly. (Id. ¶186.) The different

firms and different methods exist in what Judge Bork once dubbed a

“high technology market.” PPG Indus., 798 F.2d at 1504.



                                       15
      Case: 23-60167   Document: 242        Page: 23   Date Filed: 08/02/2023




     As Judge Bork explained, the propriety of such a market is not

called into question by the varying features of the different products. Id.

Instead, it is “buttressed” by the fact that none of them “alone will be able

to meet the [] demands of the near future.” Id. And competition between

Grail and the other firms does not begin when they receive FDA approval.

It exists in the current research and development stage when these firms

are trying to influence what type of MCEDs will ultimately be accepted

and adopted by the medical community. Id. Thus, they are clearly in

“direct competition” in an active, existing R&D Market. Id.

     C.    Future Market Entrants Play An Important Role
           in Competition

     Innovation markets are not the only place where the impact of

future market entrants on competition is considered. Take, for example,

the “actual potential competition” and “perceived potential competition”

doctrines applied to Section 7 and long ago adopted by the Fifth Circuit.

Mercantile Texas, 638 F.2d at 1264–65. The first recognizes that, “if a

strong outsider is prevented from acquiring a dominant insider, the

outsider will still enter the market independently, … [and] is more likely

to become an aggressive price-cutting competitor.” Id. at 1264. The

second recognizes that an outsider firm can be so large and powerful, and


                                       16
      Case: 23-60167    Document: 242        Page: 24   Date Filed: 08/02/2023




the market sufficiently concentrated, that the outsider’s “threatened

entry … may intimidate already dominant firms into maintaining nearly

competitive prices to avoid enticing the outside[r] … into the market by

the prospect of oligopoly profits.” Id.

      These actual and perceived potential competitor doctrines are,

though less often utilized, recognized by a number of courts.5 E.g. United

States v. Falstaff Brewing Corp., 410 U.S. 526, 531–32 (1973); United

States v. El Paso Nat. Gas Co., 376 U.S. 651, 660 (1964); Mercantile

Texas, 638 F.2d at 1264; Yamaha Motor Co. v. FTC, 657 F.2d 971, 977–

80 (8th Cir. 1981). As the Supreme Court explained, “The existence of an

aggressive, well equipped and well financed corporation engaged in the

same or related lines of commerce waiting anxiously to enter an

oligopolistic market would be a substantial incentive to competition

which cannot be underestimated.” Falstaff Brewing, 410 U.S. at 532

(emphasis added). “[P]otential competition … as a substitute for …




5 The Supreme Court twice declined to opine on the validity of the “actual

potential competitor” doctrine, but it did acknowledge that there were
“traces of this view” in a number of prior decisions. Falstaff Brewing, 410
U.S. at 537; United States v. Marine Bancorporation, Inc., 418 U.S. 602,
639 (1974).


                                        17
      Case: 23-60167   Document: 242        Page: 25   Date Filed: 08/02/2023




(actual competition) may restrain producers from overcharging those to

whom they sell or underpaying those from whom they buy.” United States

v. Penn-Olin Chem. Co., 378 U.S. 158, 174 (1964) (alterations in original).

And as this Circuit explained, when a potential competitor opts to acquire

a firm in lieu of entering the market independently, “the outsider’s full

competitive force will never be felt, [and] the merger is said to

substantially lessen competition for purposes of the Clayton Act

standard.” Mercantile Texas, 638 F.2d at 1264.

     Courts have also recognized, even in the context of the narrower

Sherman Act,6 the harm that anticompetitive conduct can bring to bear

on nascent competitors that are not yet, but might one day become,

market participants:

     [A] plaintiff who never entered a particular market but would
     have if not for an antitrust violation can undoubtedly
     challenge an antitrust violation in court. In fact, such firms
     may be prime targets for antitrust violations, because “early
     exclusion may be far cheaper than ruining or disciplining a
     recent entrant who has become established.”

     To balance these concerns, we have held that “one need not
     have an actual going business to establish a private antitrust


6 Unlike Section 7, Section 2 of the Sherman Act requires actual

monopoly power and willful possession or acquisition of that power.
United States v. Grinnell Corp., 384 U.S. 563, 570 (1966).


                                       18
      Case: 23-60167   Document: 242        Page: 26   Date Filed: 08/02/2023




     injury,” but that a plaintiff must have had “(1) an intention to
     enter the business, and (2) a showing of preparedness to enter
     the business.”

Sanger Ins. Agency v. HUB Int’l, Ltd., 802 F.3d 732, 737 (5th Cir. 2015)

(citation omitted) (emphasis added). The D.C. Circuit similarly found in

United States v. Microsoft that Microsoft’s exclusionary conduct was

actionable under Section 2 based on its effects on nascent competitors,

despite the challenger firms not being present participants in the

relevant market. 253 F.3d 34, 79 (D.C. Cir. 2001). The court found that

“it would be inimical to the purpose of the Sherman Act to allow

monopolists free reign to squash nascent, albeit unproven, competitors at

will—particularly in industries marked by rapid technological advance

and frequent paradigm shifts.” Id.

     In sum, a merger can be challenged under Section 7 based on the

acquiring firm’s potential future entry into the relevant market.7 And

restraints of trade and monopolies can be challenged under the Sherman




7 The potential competitor doctrine is also used defensively to argue

that a merger is not likely to lessen competition because low barriers to
entry have left outsider firms well positioned to enter the relevant
market. United States v. Sungard Data Sys., Inc., 172 F. Supp. 2d 172,
174 (D.D.C. 2001).


                                       19
      Case: 23-60167   Document: 242        Page: 27   Date Filed: 08/02/2023




Act based on a nascent competitor’s potential future entry into the

relevant market. Under this rubric, it would be doubly inimical to the

purpose of the Clayton Act to exclude firms actively engaged in the

research, development, and commercialization of MCED tests from the

product market when the primary vice of the vertical merger is to

foreclose their entry into the R&D Market in the first instance. See Ford

Motor Co. v. United States, 405 U.S. 562, 570–71 (1972) (“The primary

vice of a vertical merger … is that, by foreclosing the competitors of either

party from a segment of the market otherwise open to them, the

arrangement may act as a clog on competition ….”) (quotations omitted).

The product market adopted by the Commission and the ALJ is far less

speculative than the potential and nascent competitor doctrines and is

entirely consistent with how courts have assessed competition under our

antitrust laws. Petitioners’ argument to the contrary—that the

challenger MCED tests already in development are not close enough to

FDA approval to be considered part of the product market—must fail. 8


8 Petitioners point to Mercantile Texas for the proposition that other

firms developing MCED tests cannot be part of the R&D Market
because their FDA approval might be more than two years away. (Pet.
Br. 44.) But Mercantile Texas created no such bright line rule. It merely


                                       20
      Case: 23-60167   Document: 242        Page: 28   Date Filed: 08/02/2023




III. CONCLUSION

     For the foregoing reasons, the order of the Commission should be

affirmed.


                 [signature of counsel on following page]




instructed the Federal Reserve to “assess the volatility of [certain
banking] markets to determine the fairness of predicting whether they
w[ould] still be concentrated at the time when Mercantile [wa]s likely to
enter.” Mercantile Texas, 638 F.2d at 1272. And it was considering a
defensive argument that the market was deconcentrating. Id. at 1267.
In doing so, this Circuit stated that,
     [e]ven with a stronger trend towards deconcentration, years
     may pass before the influence of the dominant firms is
     substantially reduced. The addition of more competition could
     still have the requisite beneficial effect.
Id. (emphasis added). Thus, the evidence of potential entrants that was
presented was insufficient to rebut the Board’s evidence of
concentration, and it was acknowledged that overcoming the effects of a
dominant firm can take significant time. Id. Beyond confirming that
future market conditions are relevant to Section 7 analysis, this has
little bearing on whether a firm already actively involved in
development of MCED tests should be included in the relevant R&D
Market.



                                       21
     Case: 23-60167     Document: 242        Page: 29   Date Filed: 08/02/2023




Dated: August 2, 2023              Respectfully submitted,

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                                        22
      Case: 23-60167    Document: 242        Page: 30   Date Filed: 08/02/2023




                 CERTIFICATE OF COMPLIANCE

     This brief complies with Local Rule 29.3 because it contains 4,501

words, excluding the parts that can be excluded. This brief also complies

with Federal Rule of Appellate Procedure 32(a)(5)–(6) because it has been

prepared in a proportionally spaced face using Microsoft Word in 14-point

Century Schoolbook font.


Dated: August 2, 2023              s/ Katherine Van Dyck ___________
                                   Katherine Van Dyck



                       CERTIFICATE OF SERVICE

     I certify that I electronically filed the foregoing with the Clerk of

the Court for the United States Court of Appeals for the Fifth Circuit by

using the appellate CM/ECF system. I further certify that all

participants in the case are registered CM/ECF users and that service

will be accomplished by the appellate CM/ECF system.



Dated: August 2, 2023              s/ Katherine Van Dyck ___________
                                   Katherine Van Dyck




                                        23
